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St. Petersburg, FL 33733-8003
Customer Service: 1-800-820-3242

Claims:

WRIGHT.

Wright National Flood Insurance Company
'

FLOOD DECLARATIONS PAGE
RENEWAL

1/12/23

4-800-725-9472 2000 11523 FLD RCBP

National Flood Insurance Policy

Policy Number NFIP Policy Number

Product Type:

1150214861

| 091150214861 13

Residential Condominium Building Policy Form

Policy Period Date of Issue Agent Code Prior Policy Number
From: 2/05/23 To: 2/05/24 12:01 am Standard Time 01/12/2023 0607332 4400045483
Agent (239)261-3646
GULFSHORE INSURANCE SEASONS AT NAPLES CAY

4100 GOODLETTE RDN
NAPLES FL 34103-3373

CLADMIN@GULFSHOREINSURANCE.COM

Property Location (if other than above)
81 SEAGATE DR, NAPLES FL 34103

CONDO ASSOC INC
81 SEAGATE DR APT 3000
NAPLES FL 34103-2487

Address may have been changed in accordance with USPS standards.

[ Rating Information

Rate Category: Rating Engine

Primary Residence: N

Building Occupancy: Residential Condominium Building
Building Description: Entire Residential Condo Building

Flood Risk: VE

First Floor Height: 11.3 ft

Method Used to Determine First Floor Height: Elevation Certificate
Date of Construction: 01/01/2002

Prior NFIP Claims: 0
Number of Units: 53

Property Description: Elevated with enclosure solid foundation

walls, 21 floors

Replacement Cost Value: 101,786,141

[overage Deductible Annual Premium]
oUILDING $13,250,000 $1,250 $86,368.00
CONTENTS $100,000 $1,250 $1,587.00

: . ICC Premium: $75.00

Your property's NFIP flood claims history Community Rating Discount: $0.00

can affect your premium. For more information FULL RISK PREMIUM: $88,030.00

contact your insurance agent or company. Statutory Discounts
Annual Increased Cap Discount: $77,661.00
oo. DISCOUNTED PREMIUM: $10,369.00
Coverage limitations may apply. See your Reserve Fund Assessment: $1,866.00
Policy Form for details. Federal Policy Service Fee: $1,470.00
HFIAA Surcharge: $250.00
TOTAL WRITTEN PREMIUM AND FEES $13,955.00

THIS IS NOT A BILL

Premium Paid by: Insured

| Forms and Endorsements:

FFL 99.310 01200120 WFL 99.416 1021 1021

This policy is issued by NAIC company 11523
Wright National Flood Insurance Company A stock company

»py Sent To: As indicated on back or additional pages, if any.

FFL 99.

117 1021 1021

wh

Patricla Templetan-Jones, President

EXHIBIT "1"

060733209115021L48b1e301e0e 00

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Insured
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National Flood Insurance Program

Residential Condominium
Building Association Policy

Standard Flood Insurance Policy
F-144 / October 2021

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FEDERAL EMERGENCY MANAGEMENT AGENCY, FEDERAL INSURANCE AND MITIGATION ADMINISTRATION
Standard Flood Insurance Policy

Residential Condominium Building
Association Policy

Please read the policy carefully. The flood insurance provided is subject to limitations, restrictions, and exclusions.

I. AGREEMENT

A. This policy insures only a residential condominium
building in a regular program community. If the community
reverts to emergency program status during the policy
term and remains as an emergency program community at
time of renewal, this policy cannot be renewed.

B. The Federal Emergency Management Agency (FEMA)
provides flood insurance under the terms of the National
Flood Insurance Act of 1968 and its amendments, and
Title 44 of the Code of Federal Regulations.

C. We will pay you for direct physical loss by or from flood
to your insured property if you:

1. Have paid the full amount due (including applicable
premiums, surcharges, and fees);

2. Comply with all terms and conditions of this
policy; and

3. Have furnished accurate information and statements.

D. We have the right to review the information you give us
at any time and revise your policy based on our review.

E. This policy insures only one building. If you own more
than one building, coverage will apply to the single building
specifically described in the Flood Insurance Application.

F. Subject to the exception in Section |.G below, multiple
policies with building coverage cannot be issued to insure
a single building to one insured or to different insureds,
even if issued through different NFIP insurers. Payment
for damages may only be made under a single policy for
building damages under Coverage A—Building Property.

G.A Dwelling Form policy with building coverage may
be issued to a unit owner in a condominium building
that is also insured under a Residential Condominium

Building Association Policy (RCBAP). However, no
more than $250,000 may be paid in
combined benefits for a single unit
under the Dwelling Form and the
RCBAP. We will only pay for damage
once. Items of damage paid for under
a RCBAP cannot also be claimed under
the Dwelling Form policy.

Il. DEFINITIONS

A. In this policy, “you” and “your” refer to the named
insured(s) shown on the Declarations Page of this policy.
The named insured must also include the building owner
if building coverage is purchased. Insured(s) includes: any
mortgagee and loss payee named in the Application and
Declarations Page, as well as any other mortgagee or loss
payee determined to have an existing interest at the time
of loss, in the order of precedence. “We,” “us,” and “our”
refer to the insurer.

Some definitions are complex because they are provided
as they appear in the law or regulations, or result from
court cases.

NFIP RESIDENTIAL CONDOMINIUM BUILDING ASSOCIATION POLICY FORM SFIP

B. Flood, as used in this flood insurance policy, means:

1. A general and temporary condition of partial or
complete inundation of two or more acres of normally
dry land area or of two or more properties (one of
which is your property) from:

a. Overflow of inland or tidal waters,

b. Unusual and rapid accumulation or runoff of
surface waters from any source,

c. Mudflow

2. Collapse or subsidence of land along the shore of a
lake or similar body of water as a result of erosion
or undermining caused by waves or currents of water

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exceeding anticipated cyclical levels which result ina
flood as defined in B.1.a above.

C. The following are the other key definitions we use in
this policy:

1.

NFIP RESIDENTIAL CONDOMINIUM BUILDING ASSOCIATION POLICY FORM SFIP

Act. The National Flood Insurance Act of 1968 and
any amendments to it.

Actual Cash Value. The cost to replace an insured
item of property at the time of loss, less the value of
its physical depreciation.

Application. The statement made and signed by
you or your agent in applying for this policy. The
application gives information we use to determine
the eligibility of the risk, the kind of policy to be
issued, and the correct premium payment. The
application is part of this flood insurance policy.

Base Flood. A flood having a one percent chance of
being equaled or exceeded in any given year.

Basement. Any area of a building, including any
sunken room or sunken portion of a room, having its
floor below ground level on all sides.

Building.

a. A structure with two or more outside rigid walls
and a fully secured roof that is affixed to a
permanent site;

b. A manufactured home, also known as a mobile
home, is a structure built on a permanent
chassis, transported to its site in one or
more sections, and affixed to a permanent
foundation); or

c. A travel trailer without wheels, built on a chassis
and affixed to a permanent foundation, that is
regulated under the community’s floodplain
management and building ordinances or laws.

Building does not mean a gas or liquid storage tank,
shipping container, or a recreational vehicle, park
trailer, or other similar vehicle, except as described
in C.6.c above.

Cancellation. The ending of the insurance coverage
provided by this policy before the expiration date.

Condominium. That form of ownership of one or more
buildings in which each unit owner has an undivided
interest in common elements.

Condominium Association. The entity made up of the
unit owners responsible for the maintenance and
operation of:

a. Common elements owned in undivided shares
by unit owners; and

10.

11.

12.

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b. Other buildings in which the unit owners have
use rights; where membership in the entity is a
required condition of ownership.

Condominium Building. A type of building for which
the form of ownership is one in which each unit owner
has an undivided interest in common elements of
the building.

Declarations Page. A computer-generated summary
of information you provided in your application for
insurance. The Declarations Page also describes the
term of the policy, limits of coverage, and displays
the premium and our name. The Declarations Page
is a part of this flood insurance policy.

Deductible. The fixed amount of an insured loss
that is your responsibility and that is incurred by you
before any amounts are paid for the insured loss
under this policy.

Described Location. The location where the insured
building or personal property are found. The described
location is shown on the Declarations Page.

Direct Physical Loss By or From Flood. Loss or
damage to insured property, directly caused by a
flood. There must be evidence of physical changes
to the property.

Elevated Building. A building that has no basement
and that has its lowest elevated floor raised above
ground level by foundation walls, shear walls, posts,
piers, pilings, or columns.

Emergency Program. The initial phase of a
community’s participation in the National Flood
Insurance Program. During this phase, only limited
amounts of insurance are available under the Act
and the regulations prescribed pursuant to the Act.

Federal Policy Fee. A flat rate charge you must pay
on each new or renewal policy to defray certain
administrative expenses incurred in carrying out the
National Flood Insurance Program.

Improvements. Fixtures, alterations, installations,
or additions comprising a part of the residential
condominium building, including improvements in
the units.

Mudflow. A river of liquid and flowing mud on
the surface of normally dry land areas, as when
earth is carried by a current of water. Other earth
movements, such as landslide, slope failure, or
a saturated soil mass moving by liquidity down a
slope, are not mudflows.

National Flood Insurance Program (NFIP). The
program of flood insurance coverage and floodplain
management administered under the Act and
applicable Federal regulations in Title 44 of the
Code of Federal Regulations, Subchapter B.

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21.

22.

23.

24.

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Policy. The entire written contract between you and
us. It includes:

a. This printed form;

b. The application and Declarations Page;

c. Any endorsement(s) that may be issued; and
d

Any renewal certificate indicating that coverage
has been instituted for a new policy and new
policy term. Only one building, which you
specifically described in the application, may be
insured under this policy.

Pollutants. Substances that include, but are not
limited to, any solid, liquid, gaseous, or thermal
irritant or contaminant, including smoke, vapor,
soot, fumes, acids, alkalis, chemicals, and waste.
“Waste” includes, but is not limited to, materials to
be recycled, reconditioned, or reclaimed.

Post-FIRM Building. A building for which construction
or substantial improvement occurred after December
31, 1974, or on or after the effective date of an initial
Flood Insurance Rate Map (FIRM), whichever is later.

Probation Surcharge. A flat charge you must pay on
each new or renewal policy issued covering property
in a community the NFIP has placed on probation
under the provisions of 44 CFR 59.24,

25,

26.

27.

28.

29.

Regular Program. The final phase of a community’s
participation in the National Flood Insurance
Program. In this phase, a Flood Insurance Rate Map
is in effect and full limits of coverage are available
under the Act and the regulations prescribed
pursuant to the Act.

Residential Condominium Building. A building,
condominium, containing one or more family units
and in which at least 75 percent of the floor area
is residential.

Special Flood Hazard Area (SFHA). An area having
special flood or mudflow, and/or flood-related
erosion hazards, and shown on a Flood Hazard
Boundary Map or Flood Insurance Rate Map as Zone
A, AO, A1-A30, AE, AQ9, AH, AR, AR/A, AR/AE, AR/
AH, AR/AO, AR/A1—A30, V1-V30, VE, or V.

Unit. A single-family residential space in a residential
condominium building.

Valued Policy. A policy in which the insured and the
insurer agree on the value of the property insured,
that value being payable in the event of a total
loss. The Standard Flood Insurance Policy is not a
valued policy.

Ill. PROPERTY INSURED

1.

A. Coverage A—Building Property

We insure against direct physical loss by or from flood to:

The residential condominium building described on
the Declarations Page at the described location,
including all units within the building and the
improvements within the units.

We also insure such building property for a period of
45 days at another location, as set forth in III.C.2.b,
Property Removed to Safety.

Additions and extensions attached to and in contact
with the building by means of a rigid exterior wall,
a solid load-bearing interior wall, a stairway, an
elevated walkway, or a roof. At your option, additions
and extensions connected by any of these methods
may be separately insured. Additions and extensions
attached to and in contact with the building by
means of a common interior wall that is not a solid
load-bearing wall are always considered part of the
building and cannot be separately insured.

The following fixtures, machinery and equipment,
including its units, which are insured under Coverage
A only:

a. Awnings and canopies;

b. Blinds;

NFIP RESIDENTIAL CONDOMINIUM BUILDING ASSOCIATION POLICY FORM SFIP

c. Carpet permanently installed over
unfinished flooring;

Central air conditioners;
Elevator equipment;

Fire extinguishing apparatus;
Fire sprinkler systems;
Walk-in freezers;

i. Furnaces;

j. Light fixtures;

k. Outdoor antennas and aerials fastened
to buildings;

Permanently installed cupboards, bookcases,
paneling, and wallpaper;

. Pumps and machinery for operating pumps;
Ventilating equipment;
Wall mirrors, permanently installed; and
In the units within the building, installed:
(1)
(2) Built-in microwave ovens;
(3)
(4) Hot water heaters, including solar
water heaters;
(5) Kitchen cabinets;

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Built-in dishwashers;

Garbage disposal units;

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(6) Plumbing fixtures;
(7) Radiators;

(8) Ranges;

(9) Refrigerators; and
(10) Stoves.

5. Materials and supplies to be used for construction,

alteration or repair of the insured building while
the materials and supplies are stored in a fully
enclosed building at the described location or on
an adjacent property.

. A building under construction, alteration, or repair at
the described location.

a. If the structure is not yet walled
or roofed as described in the def-
inition for building (see II.C.6.a.)
then coverage applies:

(1) Only while such work is in
progress; or

(2) If such work is halted, only
for a period of up to 90
continuous days thereafter.

b. However, coverage does not
apply until the building is walled
and roofed if the lowest floor,
including the basement floor, of
a non-elevated building or the
lowest elevated floor of an ele-
vated building is:

(1) Below the base flood
elevation in Zones AH, AE,
A1-30, AR, AR/AE, AR/AH,
AR/A1-30, AR/A, AR/AO; or

(2) Below the base flood
elevation adjusted to include

the effect of wave action in
Zones VE or V1-30.

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The lowest floor level is based on the bottom of
the lowest horizontal structural member of the
floor in Zones VE or V1-V30 or top of the floor
in Zones AH, AE, A1-A30, AR, AR/AE, AR/AH,
AR/A1-A30, AR/A, and AR/AO.

7. A manufactured home or a travel trailer, as

described in the II.C.6. If the manufactured home is
in a special flood hazard area, it must be anchored
in the following manner at the time of the loss:

a. By over-the-top or frame ties to ground
anchors; or

b. In accordance with the manufacturer’s
specifications; or

c. In compliance with the community's floodplain
management requirements unless it has been
continuously insured by the NFIP at the same
described location since September 30, 1982.

. Items of property below the lowest

elevated floor of an elevated post-
FIRM building located in zones
A1-A30, AE, AH, AR, AR/A, AR/
AE, AR/AH, AR/A1-A30, V1-V30,
or VE, or in a basement, regardless
of the zone. Coverage is limited to
the following:

a. Any of the following items, if installed in their
functioning locations and, if necessary for
operation, connected to a power source:

(1) Central air conditioners;
(2) Cisterns and the water in them;

(3) Drywall for walls and ceilings in a basement
and the cost of labor to nail it, unfinished
and unfloated and not taped, to the framing;

(4) Electrical junction and circuit breaker boxes;
(5) Electrical outlets and switches;

(6) Elevators, dumbwaiters, and_ related
equipment, except for related equipment
installed below the base flood elevation
after September 30, 1987;

7) Fuel tanks and the fuel in them;

8) Furnaces and hot water heaters;

(
(
(9) Heat pumps;
(10) Nonflammable insulation in a basement;
(

11) Pumps and tanks used in solar
energy systems;

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(12) Stairways and staircases attached to
the building, not separated from it by
elevated walkways;

(13) Sump pumps;

(14) Water softeners and the chemicals in them,
water filters, and faucets installed as an
integral part of the plumbing system;

(15) Well water tanks and pumps;

(16) Required utility connections for any item
in this list; and

(17) Footings, foundations, posts, pilings, piers,
or other foundation walls and anchorage
systems required to support a building.

b. Clean-up.

B. Coverage B—Personal Property

4.

NFIP RESIDENTIAL CONDOMINIUM BUILDING ASSOCIATION POLICY FORM SFIP

If you have purchased personal property coverage,
we insure, subject to B.2 and B.3 below, against
direct physical loss by or from flood to personal
property that is inside the fully enclosed insured
building and is:

a. Owned by the unit owners of the condominium
association in common, meaning property
in which each unit owner has an undivided
ownership interest; or

b. Owned solely by the condominium association
and used exclusively in the conduct of the
business affairs of the condominium association.

We also insure such personal property for 45 days
while stored at a temporary location, as set forth in
Ill.C.2.b, Property Removed to Safety.

Coverage for personal property includes the following
property, subject to B.1. above, which is insured
under Coverage B only:

a. Air conditioning units, portable or window type;

b. Carpets, not permanently installed, over
unfinished flooring;

Carpets over finished flooring;
Clothes washers and dryers;
“Cook-out” grills;

Food freezers, other than walk-in, and food in
any freezer;

->oao

g. Outdoor equipment and furniture stored inside
the insured building;

h. Ovens and the like; and

i. Portable microwave ovens and
portable dishwashers.

4. Coverage for items of property in

a building enclosure below the
lowest elevated floor of an elevated
post-FIRM building located in
zones A1-A30, AE, AH, AR, AR/A,
AR/AE, AR/AH, AR/A1-A30, V1-
V30, or VE, or in a basement, re-
gardless of the zone, is limited to
the following items, if installed in
their functioning locations and, if
necessary for operation, connected
to a power source:

a. Air conditioning units, portable or window type;
Clothes washers and dryers; and

c. Food freezers, other than walk-in, and food in
any freezer.

5. Special Limits. We will pay no

more than $2,500 for any one loss
to one or more of the following
kinds of personal property:

a. Artwork, photographs, collectibles, or
memorabilia, including but not limited to,
porcelain or other figures, and sports cards;

b. Rare books or autographed items;

c. Jewelry, watches, precious and semi-precious
stones, or articles of gold, silver, or platinum;

d. Furs or any article containing fur which
represents its principal value.

6. We will pay only for the functional

value of antiques.

C. Coverage C—Other Coverages

1. Debris Removal

a. We will pay the expense to remove non-owned
debris that is on or in insured property and
debris of insured property anywhere.

b. If you or a member of your household perform
the removal work, the value of your work will be
based on the Federal minimum wage.

c. This coverage does not increase the Coverage
A or Coverage B limit of liability.

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2. Loss Avoidance Measures

a. Sandbags, Supplies, and Labor

(1)

We will pay up to $1,000 for costs you incur
to protect the insured building from a flood or
imminent danger of flood, for the following:

(a) Your reasonable expenses to buy:
i) Sandbags, including sand to fill them;
ii) Fill for temporary levees;

(

(ii

(iii) Pumps; and

(iv) Plastic sheeting and lumber used in

connection with these items.

(b) The value of work, at the Federal minimum
wage, that you perform.

This coverage for Sandbags, Supplies and
Labor only applies if damage to insured
property by or from flood is imminent and the
threat of flood damage is apparent enough
to lead a person of common prudence to
anticipate flood damage. One of the following
must also occur:

(a) A general and temporary condition of
flooding in the area near the described
location must occur, even if the flood
does not reach the building; or

(b) A legally authorized official must issue an
evacuation order or other civil order for
the community in which the building is
located calling for measures to preserve
life and property from the peril of flood.

b. Property Removed to Safety

(1)

We will pay up to $1,000 for the reasonable
expenses you incur to move insured property
to a place other than the described location
that contains the property in order to protect
it from flood or the imminent danger of flood.
Reasonable expenses include the value of
work, at the Federal minimum wage, you or a
member of your household perform.

lf you move insured property to a location
other than the described location that
contains the property, in order to protect it
from flood or the imminent danger of flood,
we will cover such property while at that
location for a period of 45 consecutive days
from the date you begin to move it there.

The personal property that is moved must
be placed in a fully enclosed building or
otherwise reasonably protected from the
elements. Any property removed, including
a moveable home described in II.6.b and c,

NFIP RESIDENTIAL CONDOMINIUM BUILDING ASSOCIATION POLICY FORM SFIP

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must be placed above ground level or outside
of the special flood hazard area

(4) This coverage does not increase the Coverage
A or Coverage B limit of liability.

D. Coverage D—Increased Cost of Compliance

1. General.

This policy pays you to comply with a State or local
floodplain management law or ordinance affecting
repair or reconstruction of a building suffering
flood damage. Compliance activities eligible for
payment are: elevation, floodproofing, relocation, or
demolition (or any combination of these activities)
of your building. Eligible floodproofing activities are
limited to:

a. Non-residential buildings.

b. Residential buildings with basements that
satisfy FEMA’s standards published in the Code
of Federal Regulations [44 CFR 60.6 (b) or (c)].

. Limit of Liability.

We will pay you up to $30,000 under this Coverage
D (Increased Cost of Compliance), which only applies
to policies with building coverage (Coverage A). Our
payment of claims under Coverage D is in addition to
the amount of coverage which you selected on the
application and which appears on the Declarations
Page. But, the maximum you can collect under this
policy for both Coverage A—Building Property and
Coverage D—Increased Cost of Compliance cannot
exceed the maximum permitted under the Act. We
do not charge a separate deductible for a claim
under Coverage D.

3. Eligibility.

a. A building insured under Coverage A (Building
Property) sustaining a loss caused by a flood as
defined by this policy must:

(1) Be a “repetitive loss building.” A repetitive
loss building is one that meets the following
conditions:

(a) The building is insured by a contract of
flood insurance issued under the NFIP.

(b) The building has suffered flood damage
on two occasions during a 10-year period
which ends on the date of the second loss.

(c) The cost to repair the flood damage, on
average, equaled or exceeded 25 percent
of the market value of the building at the
time of each flood loss.

(d

In addition to the current claim, the NFIP
must have paid the previous qualifying
claim, and the State or community must

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have a cumulative, substantial damage
provision or repetitive loss provision in its
floodplain management law or ordinance
being enforced against the building; or

(2) Be a building that has had flood damage in
which the cost to repair equals or exceeds 50
percent of the market value of the building at
the time of the flood. The State or community
must have a substantial damage provision in
its floodplain management law or ordinance

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at the same or another site to meet State
or local floodplain management laws or
ordinances, subject to Exclusion D.5.g below
relating to improvements.

Coverage D will pay to bring a flood-damaged
building into compliance with State or local
floodplain management laws or ordinances even
if the building had received a variance before
the present loss from the applicable floodplain
management requirements.

being enforced against the building. 4, Conditions.

b. This Coverage D pays you to comply with State or a. When a building insured under

local floodplain management laws or ordinances

that meet the minimum standards of the
National Flood Insurance Program found in the
Code of Federal Regulations at 44 CFR 60.3. We
pay for compliance activities that exceed those
standards under these conditions:

(1) 3.a.1 above.

(2) Elevation or floodproofing in any risk zone to
preliminary or advisory base flood elevations
provided by FEMA which the State or local
government has adopted and is enforcing
for flood-damaged buildings in such areas.
(This includes compliance activities in B, C,
X, or D zones which are being changed to
zones with base flood elevations. This also
includes compliance activities in zones where
base flood elevations are being increased,
and a flood-damaged building must comply
with the higher advisory base flood elevation.)
Increased Cost of Compliance coverage
does not apply to situations in B, C, X, or
D zones where the community has derived
its own elevations and is enforcing elevation
or floodproofing requirements for flood-
damaged buildings to elevations derived
solely by the community.

(3) Elevation or floodproofing above the base
flood elevation to meet State or local
“freeboard” requirements, i.e., that a
building must be elevated above the base
flood elevation.

Under the minimum NFIP criteria at 44 CFR
60.3(b)(4), States and communities must require
the elevation or floodproofing of buildings in
unnumbered A zones to the base flood elevation
where elevation data is obtained from a Federal,
State, or other source. Such compliance
activities are also eligible for Coverage D.

Coverage D will pay for the incremental cost,
after demolition or relocation, of elevating
or floodproofing a building during its rebuilding

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Coverage A—Building Property
sustains a loss caused by a
flood, our payment for the loss
under this Coverage D will be
for the increased cost to ele-
vate, floodproof, relocate, or
demolish (or any combination of
these activities) caused by the
enforcement of current State
or local floodplain management
ordinances or laws. Our payment
for eligible demolition activities
will be for the cost to demolish
and clear the site of the build-
ing debris or a portion thereof
caused by the enforcement of
current State or local flood-
plain management ordinances
or laws. Eligible activities for
the cost of clearing the site
will include those necessary to
discontinue utility service to the
site and ensure proper aban-
donment of on-site utilities.

. When the building is repaired

or rebuilt, it must be intended

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for the same occupancy as the
present building unless oth-
erwise required by current
floodplain management ordi-
nances or laws.

5. Exclusions.

Under this Coverage D (Increased
Cost of Compliance) we will not
pay for:

a.

. The cost

The cost to comply with any
floodplain management law
or ordinance in communities
participating in the Emer-
gency Program.

associated with
enforcement of any ordinance
or law that requires any insured
or others to test for, monitor,
clean up, remove, contain, treat,
detoxify or neutralize, or in any
way respond to, or assess the
effects of pollutants.

The loss in value to any insured
building due to the requirements
of any ordinance or law.

. The loss in residual value of the

undamaged portion of a building
demolished as a consequence
of enforcement of any State or
local floodplain management
law or ordinance.

. Any Increased Cost of Com-

pliance under this Coverage D:

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. Any compliance

(1) Until the building is elevated,
floodproofed, demolished, or
relocated on the same or to
another premises; and

(2) Unless the building is
elevated, floodproofed, de-
molished, or relocated as
soon as reasonably possible
after the loss, not to exceed
two years.

. Any code upgrade requirements,

e.g., plumbing or electrical wir-
ing, not specifically related to
the State or local floodplain
management law or ordinance.

activities
needed to bring additions or
improvements made after the
loss occurred into compliance
with State or local floodplain
management laws or ordinances.

. Loss due to any ordinance or law

that you were required to comply
with before the current loss.

i. Any rebuilding activity to stan-

dards that do not meet the
NFIP’s minimum requirements.
This includes any situation
where the insured has received
from the State or community a
variance in connection with the
current flood loss to rebuild the
property to an elevation below
the base flood elevation.

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j. Increased Cost of Compliance
for a garage or carport.

k. Any building insured under an
NFIP Group Flood Insurance
Policy.

I. Assessments made by a condo-
minium association on individual
condominium unit owners to
pay increased costs of repairing

commonly owned buildings after
a flood in compliance with State
or local floodplain management
ordinances or laws.

6. Other Provisions.

a.

Increased Cost of Compliance coverage will
not be included in the calculation to determine
whether coverage meets the coinsurance
requirement for replacement cost coverage
under Art. VIII.R. (“Loss Settlement”).

All other conditions and provisions of this policy
apply.

IV. PROPERTY NOT INSURED

We do not insure any of the following:

1. Personal property not inside
a building;

A building, and personal property

in it, located entirely in, on, or

over water or seaward of mean
high tide if it was constructed

or substantially improved after

September 30, 1982;

Open structures, including a
building used as a boathouse
or any structure or building into
which boats are floated, and
personal property located in, on,
or over water;

Recreational vehicles other than
travel trailers described in the
Definitions section (see II.C.6.c)

whether affixed to a permanent

foundation or on wheels;

5.

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Self-propelled vehicles or
machines, including their parts
and equipment. However, we do
cover self-propelled vehicles or
machines not licensed for use
on public roads that are:

a. Used mainly to service the
described location or

b. Designed and used to assist
handicapped persons, while
the vehicles or machines
are inside a building at the
described location;

Land, land values, lawns, trees,
shrubs, plants, growing crops,
or animals;

Accounts, bills, coins, cur-
rency, deeds, evidences of debt,
medals, money, scrip, stored
value cards, postage stamps,
securities, bullion, manuscripts,
or other valuable papers;

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8. Underground = structures and 12.Fences, retaining walls, sea-
equipment, including wells, septic walls, bulkheads, wharves,
tanks, and septic systems; piers, bridges, and docks;

9. Those portions of walks, walkways, 13. Aircraft or watercraft, or their
decks, driveways, patios, and furnishings and equipment;
other surfaces, all whether
protected by a roof or not, located
outside the perimeter, exterior
walls of the insured building:

14. Hot tubs and spas that are not
bathroom fixtures, and swimming
pools, and their equipment such
as, but not limited to, heaters,

10. Containers, including related filters, pumps, and _ pipes,
equipment, such as, but not wherever located;
limited to, tanks containing gases 15. Property not eligible for flood
or liquids;
insurance pursuant to the
11. Buildings and all their contents provisions of the Coastal Barrier
if more than 49 percent of the Resources Act and the Coastal
actual cash value of the building Barrier Improvements Act of 1990
is below ground, unless the lowest and amendments to these Acts;

level is at or above the base flood
elevation and is below ground
by reason of earth having been
used as insulation material in
conjunction with energy efficient
building techniques;

16. Personal property used in
connection with any incidental
commercial occupancy or use of
the building.

V. EXCLUSIONS

A. We only pay for “direct physical loss 3. Loss of use of the insured property
by or from flood,” which means that we or described location;

do not pay you for: 4. Loss from interruption of business

1. Loss of revenue or profits; or production;
2. Loss of access to the insured 9. Any additional living expenses
property or described location; incurred while the insured building

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is being repaired or is unable to be
occupied for any reason;

6. The cost of complying with any
Ordinance or law requiring or
regulating the construction,
demolition, remodeling, reno-
vation, or repair of property,
including removal of any result-
ing debris. This exclusion does
not apply to any eligible activities
we describe in Coverage D—
Increased Cost of Compliance; or

7. Any other economic loss you suffer.

B. Flood in Progress. If this policy
became effective as of the time of
a loan closing, as provided by 44
CFR 61.11(b), we will not pay for
a loss caused by a flood that is a
continuation of a flood that existed
prior to coverage becoming effective.
In all other circumstances, we will not
pay for a loss caused by a flood that is
a continuation of a flood that existed
on or before the day you submitted
the application for coverage under this
policy and the correct premium. We
will determine the date of application
using 44 CFR 611.11(f).

C.We do not insure for loss
to property caused directly by
earth movement even if the earth
movement is caused by flood. Some

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examples of earth movement that we
do not cover are:

1. Earthquake;
2. Landslide;

3. Land subsidence;
4. Sinkholes;
5

. Destabilization or movement of
land that results from accumula-
tion of water in subsurface land
areas; or

6. Gradual erosion.

We do, however, pay for losses from
mudflow and land subsidence as a
result of erosion that are specifically
covered under our definition of flood
(see II.B.1.c and II.B.2).

D. We do not insure for direct physical
loss caused directly or indirectly by:

1. The pressure or weight of ice;
2. Freezing or thawing;

3. Rain, snow, sleet, hail, or
water spray;

4. Water, moisture, mildew, or mold
damage that results primarily from
any condition:

a. Substantially confined to the
insured building; or

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b. That is within your control
including, but not limited to:

(1) Design, structural, or
mechanical defects;

(2) Failures, stoppages, or
breakage of water or sewer
lines, drains, pumps,
fixtures, or equipment; or

(3) Failure to inspect and
maintain the property after
a flood recedes;

5. Water or water-borne material that:

a. Backs up through sewers
or drains;

b. Discharges or overflows from
a sump, sump pump or related
equipment; or

c. Seeps or leaks on or through
the insured property;

d. unless there is a flood in the
area and the flood is the proxi-
mate cause of the sewer or
drain backup, sump pump
discharge or overflow, or the
seepage of water;

6. The pressure or weight of water
unless there is a flood in the area
and the flood is the proximate
cause of the damage from the
pressure or weight of water;

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7. Power, heating, or cooling
failure unless the failure results
from direct physical loss by or
from flood to power, heating,
or cooling equipment on the
described location;

8. Theft, fire, explosion, wind,
or windstorm;

9. Anything you or your agents do or
conspire to do to cause loss by
flood deliberately; or

10. Alteration of the insured property
that significantly increases the
risk of flooding.

E. We do not insure for loss to any
building or personal property located
on land leased from the Federal
Government, arising from or incident to
the flooding of the land by the Federal
Government, where the lease expressly
holds the Federal Government harmless
under flood insurance issued under any
Federal Government program.

F. We do not pay for the testing for
or monitoring of pollutants unless
required by law or ordinance.

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VI. DEDUCTIBLES

A. When a loss is insured under this policy, we will pay only
that part of the loss that exceeds your deductible amount,
subject to the limit of liability that applies. The deductible
amount is shown on the Declarations Page.

However, when a building under construction, alteration,
or repair does not have at least two rigid exterior walls and
a fully secured roof at the time of loss, your deductible

amount will be two times the deductible that would
otherwise apply to a completed building.

B. In each loss from flood, separate deductibles apply to
the building and personal property insured by this policy.

C. No deductible applies to:
41. Ill.C.2. Loss Avoidance Measures; or

2. Ill.D. Increased Cost of Compliance.

Vil. COINSURANCE

A. This Coinsurance Section applies only to coverage on
the building.

B.We will impose a _ penalty on
loss payment unless the amount of
insurance applicable to the damaged
building is:
1. At least 80 percent of its replace-
ment cost; or

2. The maximum amount of insurance
available for that building under
the NFIP, whichever is less.

C. If the actual amount of insurance on the building is
less than the required amount in accordance with the
terms of VII.B above, then loss payment is determined
as follows (Subject to all other relevant conditions in this
policy, including those pertaining to valuation, adjustment,
settlement, and payment of loss):

1. Divide the actual amount of insurance carried on the
building by the required amount of insurance.

2. Multiply the amount of loss, before application of the
deductible, by the figure determined in C.1 above.

3. Subtract the deductible from the figure determined
in C.2 above.

We will pay the amount determined in C.3 above, or
the amount of insurance carried, whichever is less. The
amount of insurance carried, if in excess of the applicable
maximum amount of insurance available under the NFIP, is
reduced accordingly.

EXAMPLES
Example #1 (Inadequate Insurance)
Replacement value of the building — $250,000

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Required amount of insurance - $200,000

(80 percent of replacement value of $250,000)
Actual amount of insurance carried — $180,000
Amount of the loss -- $150,000
Deductible -- $500
Step 1: 180,000 / 200,000 = .90

(90 percent of what should be carried.)
Step 2: $150,000 x .90 = 135,000
Step 3: $135,000 — $500 = 134,500
We will pay no more than $134,500. The remaining
$15,500 is not covered due to the coinsurance penalty
($15,000) and application of the deductible ($500).
Example #2 (Adequate Insurance)
Replacement value of the building — $500,000
Required amount of insurance — $400,000

(80 percent of replacement value of $500,000)
Actual amount of insurance carried — $400,000
Amount of the loss — $200,000
Deductible — $500

In this example there is no coinsurance penalty, because
the actual amount of insurance carried meets the required

amount. We will pay no more than $199,500 ($200,000
amount of loss minus the $500 deductible).

D. In calculating the full replacement cost of a building:

1. The replacement cost value of any insured building
property will be included;

2. The replacement cost value of any building property
not insured under this policy will not be included; and

3. Only the replacement cost value of improvements
installed by the condominium association will
be included.

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VIII. GENERAL CONDITIONS

A. Pair and Set Clause

In case of loss to an article that is part of a pair or set, we
will have the option of paying you:

1. An amount equal to the cost of replacing the
lost, damaged, or destroyed article, minus its
depreciation, or

2. The amount that represents the fair proportion of the
total value of the pair or set that the lost, damaged,
or destroyed article bears to the pair or set.

B. Other Insurance

1. If a loss insured by this policy is
also insured by other insurance
that includes flood coverage not
issued under the Act, we will not
pay more than the amount of
insurance that you are entitled to
for lost, damaged, or destroyed
property insured under this policy
subject to the following:

a. We will pay only the proportion
of the loss that the amount of
insurance that applies under
this policy bears to the total
amount of insurance covering
the loss, unless VIII.B.1.b orc
immediately below applies.

b. If the other policy has a
provision stating that it is
excess insurance, this policy
will be primary.

c. This policy will be primary (but
subject to its own deductible)

up to the deductible in the other
flood policy (except another

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policy as described in VIII.B.1.b.
above). When the other deduct-
ible amount is reached, this
policy will participate in the
same proportion that the
amount of insurance under this
policy bears to the total amount
of both policies, for the remain-
der of the loss.

2. If there is a National Flood Insur-
ance Program flood insurance
policy in the name of a unit owner
that covers the same loss as
this policy, then this policy will
be primary.

C. Amendments, Waivers, Assignment

This policy cannot be changed, nor can any of its provisions
be waived, without the express written consent of the
Federal Insurance Administrator. No action we take under
the terms of this policy constitutes a waiver of any of our
rights. You may assign this policy in writing when you
transfer title of your property to someone else except under
these conditions:

1. When this policy insures only personal property; or

2. When this policy insures a building
under construction.

D. Insufficient Premium or Rating Information

1. Applicability. The following provi-
sions apply to all instances where
the premium paid on this policy
is insufficient or where the rating
information is insufficient, such
as where an Elevation Certificate
is not provided.

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2. Reforming the Policy with
Reduced Coverage. Except as
otherwise provided in VIII.D.1 and
VIII.D.4, if the premium we received
from you was not sufficient to buy
the kinds and amounts of coverage
you requested, we will provide only
the kinds and amounts of coverage
that can be purchased for the
premium payment we received.

a. For the purpose of determining
whether your premium payment
is sufficient to buy the kinds
and amounts of coverage you
requested, we will first deduct
the costs of all applicable fees
and surcharges.

b. If the amount paid, after
deducting the costs of all appli-
cable fees and surcharges, is not
sufficient to buy any amount
of coverage, your payment will
be refunded. Unless the pol-
icy is reformed to increase the
coverage amount to the amount
Originally requested pursuant
to VIII.E.3, this policy will be
cancelled, and no claims will be
paid under this policy.

c. Coverage limits on the reformed
policy will be based upon the
amount of premium submitted
per type of coverage, but will

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3. Discovery of

not exceed the amount origi-
nally requested.

Insufficient
Premium or Rating Information.
If we discover that your premium
payment was not sufficient to buy
the requested amount of coverage,
the policy will be reformed as
described in VIII.D.2. You have the
option of increasing the amount
of coverage resulting from this
reformation to the amount you
requested as follows:

a. Insufficient Premium. If we
discover that your premium pay-
ment was not sufficient to buy
the requested amount of cover-
age, we will send you, and any
mortgagee or trustee known to
us, a bill for the required addi-
tional premium for the current
policy term (or that portion of
the current policy term follow-
ing any endorsement changing
the amount of coverage). If it
is discovered that the initial
amount charged to you for any
fees or surcharges is incorrect,
the difference will be added or
deducted, as applicable, to the
total amount in this bill.

(1) If you or the mortgagee or
trustee pay the additional
amount due within 30 days

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from the date of our bill,
we will reform the policy
to increase the amount of
coverage to the originally
requested amount, effec-
tive to the beginning of
the current policy term (or
subsequent date of any
endorsement changing the
amount of coverage).

(2) If you or the mortgagee
or trustee do not pay the
additional amount due
within 30 days of the date of
our bill, any flood insurance
claim will be settled based
on the reduced amount
of coverage.

(3) As applicable, you have the
option of paying all or part
of the amount due out of a
claim payment based on the
Originally requested amount
of coverage.

b. Insufficient Rating Information.
If we determine that the rating
information we have is insuf-
ficient and prevents us from
calculating the additional pre-
mium, we will ask you to send
the required information. You
must submit the information
within 60 days of our request.

(1) If we receive the informa-
tion within 60 days of our
request, we will determine
the amount of additional pre-
mium for the current policy
term and follow the proce-
dure in VIII.D.3.a above.

(2) If we do not receive the
information within 60
days of our request, no
claims will be paid until
the requested information
is provided. Coverage will
be limited to the amount of
coverage that can be pur-
chased for the payments
we received, as determined
when the requested infor-
mation is provided.

4. Coverage Increases. If we do not

receive the amount requested
in VIUII.D.3.a or VIII.D.4.a, or the
additional information requested in
VilI.D.3.b or VIII.D.4.b by the date
it is due, the amount of coverage
under this policy can only be
increased by endorsement subject
to the appropriate waiting period.
However, no coverage increases
will be allowed until you have
provided the information requested
in VIII.D.3.b or VIII.D.4.b.

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5. Falsifying Information. However,
if we find that you or your agent
intentionally did not tell us, or
falsified, any important fact or
circumstance or did anything
fraudulent relating to this insurance,
the provisions of IX.A apply.

E. Policy Renewal

1. This policy will expire at 12:01 a.m. on the last day
of the policy term.

2. We must receive the payment of the appropriate
renewal premium within 30 days of the expiration
date.

3. If we find, however, that we did not place your renewal
notice into the U.S. Postal Service, or if we did mail
it, we made a mistake, e.g., we used an incorrect,
incomplete, or illegible address, which delayed its
delivery to you before the due date for the renewal
premium, then we will follow these procedures:

a. If you or your agent notified us, not later than
one year after the date on which the payment
of the renewal premium was due, of non-receipt
of a renewal notice before the due date for the
renewal premium, and we determine that the
circumstances in the preceding paragraph apply,
we will mail a second bill providing a revised due
date, which will be 30 days after the date on
which the bill is mailed.

b. If we do not receive the premium requested in
the second bill by the revised due date, then
we will not renew the policy. In that case, the
policy will remain as an expired policy as of the
expiration date shown on the Declarations Page.

c. In connection with the renewal of this policy, we
may ask you during the policy term to recertify,
on a Recertification Questionnaire that we
will provide you, the rating information used to
rate your most recent application for or renewal
of insurance.

F. Conditions Suspending or Restricting Insurance

We are not liable for loss that
occurs while there is a hazard that is
increased by any means within your
control or knowledge.

G. Requirements in Case of Loss

In case of a flood loss to insured
property, you must:

1. Give prompt written notice to us;

2. AS soon as reasonably possible,

separate the damaged and
undamaged property, putting it in
the best possible order so that we
may examine it;

. Prepare an inventory of damaged

property showing the quantity,
description, actual cash value, and
amount of loss. Attach all bills,
receipts, and related documents;

. Within 60 days after the loss,

send us a proof of loss, which
is your statement of the amount
you are Claiming under the policy
signed and sworn to by you,
and which furnishes us with the
following information:

a. The date and time of loss;

b. A brief explanation of how the
loss happened;

c. Your interest (for example,
“owner”) and the_ interest,
if any, of others in the dam-
aged property;

d. Details of any other insurance
that may cover the loss;

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e. Changes in title or occupancy of
the insured property during the
term of the policy;

f. Specifications of damaged
buildings and detailed repair
estimates;

g. Names of mortgagees or any-
one else having a lien, charge,
or claim against the insured
property;

h. Details about who occupied any
insured building at the time of
loss and for what purpose; and

i. The inventory of damaged per-
sonal property described in
G.3 above.

. In completing the proof of loss,
you must use your own judgment
concerning the amount of loss and
justify that amount.

. You must cooperate with the
adjuster or representative in the
investigation of the claim.

. The insurance adjuster whom we hire to investigate
your claim may furnish you with a proof of loss form,
and she or he may help you complete it. However,
this is a matter of courtesy only, and you must still
send us a proof of loss within 60 days after the loss
even if the adjuster does not furnish the form or help
you complete it.

. We have not authorized the adjuster to approve
or disapprove claims or to tell you whether we will
approve your claim.

. At our option, we may accept the adjuster’s report of
the loss instead of your proof of loss. The adjuster’s
report will include information about your loss and
the damages you sustained. You must sign the

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adjuster’s report. At our option, we may require you
to swear to the report.

H. Our Options After a Loss

Options we may, in our sole discretion,
exercise after loss include the following:

1. At such reasonable times and places

that we may designate, you must:

a. Show us or our representative
the damaged property;

b. Submit to examination under
oath, while not in the presence
of another insured, and sign the
same; and

c. Permit us to examine and make
extracts and copies of:

(1) Any policies of property
insurance insuring you
against loss and the deed
establishing your ownership
of the insured real property;

(2) Condominium association
documents including
the Declarations of the
condominium, its Articles of
Association or Incorporation,
Bylaws, and rules and
regulations; and

(3) All books of accounts, bills,
invoices and other vouchers,
or certified copies pertaining
to the damaged property if
the originals are lost.

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2. We may request, in writing, that
you furnish us with a complete
inventory of the lost, damaged, or
destroyed property, including:

a. Quantities and costs;

b. Actual cash values’ or
replacement cost (whichever
is appropriate);

c. Amounts of loss claimed;

d. Any written plans and spec-
ifications for repair of the
damaged property that you can
reasonably make available to
us; and

e. Evidence that prior flood dam-
age has been repaired.

3. If we give you written notice
within 30 days after we receive
your signed, sworn proof of loss,
we may:

a. Repair, rebuild, or replace any
part of the lost, damaged, or
destroyed property with mate-
rial or property of like kind
and quality or its functional
equivalent; and

b. Take all or any part of the
damaged property at the value
that we agree upon or its
appraised value.

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|. No Benefit to Bailee

No person or organization, other than
you, having custody of insured property
will benefit from this insurance.

J. Loss Payment

1. We will adjust all losses with you. We will pay you
unless some other person or entity is named in the
policy or is legally entitled to receive payment. Loss
will be payable 6O days after we receive your proof of
loss (or within 90 days after the insurance adjuster
files the adjuster’s report signed and sworn to by
you in lieu of a proof of loss) and:

a. We reach an agreement with you;
b. There is an entry of a final judgment; or

c. There is a filing of an appraisal award with us,
as provided in VIII.M.

2. If we reject your proof of loss in whole or in part
you may:

a. Accept our denial of your claim;
b. Exercise your rights under this policy; or

c. File an amended proof of loss as long as it is
filed within GO days of the date of the loss.

K. Abandonment

You may not abandon damaged or undamaged insured
property to us.

L. Salvage

We may permit you to keep damaged insured property after
a loss, and we will reduce the amount of the loss proceeds
payable to you under the policy by the value of the salvage.

M. Appraisal

If you and we fail to agree on the actual cash value or,
if applicable, replacement cost of the damaged property
so as to determine the amount of loss, then either may
demand an appraisal of the loss. In this event, you and
we will each choose a competent and impartial appraiser
within 20 days after receiving a written request from the
other. The two appraisers will choose an umpire. If they
cannot agree upon an umpire within 15 days, you or we
may request that the choice be made by a judge of a court
of record in the state where the insured property is located.
The appraisers will separately state the actual cash value,
the replacement cost, and the amount of loss to each item.
If the appraisers submit a written report of an agreement
to us, the amount agreed upon will be the amount of loss.
If they fail to agree, they will submit their differences to
the umpire. A decision agreed to by any two will set the
amount of actual cash value and loss, or if it applies, the
replacement cost and loss.

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Each party will:
1. Pay its own appraiser; and

2. Bear the other expenses of the appraisal and
umpire equally.

N. Mortgage Clause

1. The word “mortgagee” includes
trustee.

2. Any loss payable under Coverage
A—Building Property will be paid
to any mortgagee of whom we
have actual notice, as well as any
other mortgagee or loss payee
determined to exist at the time of
loss, and you, as interests appear.
If more than one mortgagee is
named, the order of payment
will be the same as the order of
precedence of the mortgages.

3. If we deny your claim, that denial
will not apply to a valid claim of the
mortgagee, if the mortgagee:

a. Notifies us of any change in
the ownership or occupancy,
or substantial change in risk of
which the mortgagee is aware;

b. Pays any premium due under
this policy on demand if you
have neglected to pay the
premium; and

c. Submits a signed, sworn proof
of loss within 60 days after
receiving notice from us of your
failure to do so.

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4. All terms of this policy apply to
the mortgagee.

5. The mortgagee has the right to
receive loss payment even if the
mortgagee has started foreclosure
or similar action on the building.

6. If we decide to cancel or not renew
this policy, it will continue in effect
for the benefit of the mortgagee
only for 30 days after we notify
the mortgagee of the cancellation
or non-renewal.

7. If we pay the mortgagee for any
loss and deny payment to you,
we are subrogated to all the
rights of the mortgagee granted
under the mortgage on the
property. Subrogation will not
impair the right of the mortgagee
to recover the full amount of the
mortgagee’s claim.

O. Suit Against Us

You may not sue us to recover money
under this policy unless you have
complied with all the requirements of
the policy. If you do sue, you must start
the suit within one year of the date of
the written denial of all or part of the
claim, and you must file the suit in
the United States District Court of the
district in which the insured property
was located at the time of loss. This
requirement applies to any claim that

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you may have under this policy and to
any dispute that you may have arising
out of the handling of any claim under
the policy.

P. Subrogation

Whenever we make a payment for a loss under this
policy, we are subrogated to your right to recover for that
loss from any other person. That means that your right
to recover for a loss that was partly or totally caused by
someone else is automatically transferred to us, to the
extent that we have paid you for the loss. We may require

you to acknowledge this transfer in writing. After the
loss, you may not give up our right
to recover this money or do anything
that would prevent us from recovering
it. If you make any claim against any
person who caused your loss and
recover any money, you must pay us
back first before you may keep any of
that money.

Q. Continuous Lake Flood

1. If an insured building has been
flooded by rising lake waters
continuously for 90 days or more
and it appears reasonably certain
that a continuation of this flooding
will result in an insured loss to the
insured building equal to or greater
than the building policy limits plus
the deductible or the maximum
payable under the policy for any
one building loss, we will pay you
the lesser of these two amounts
without waiting for the further
damage to occur if you sign a
release agreeing:

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a. To make no further claim under
this policy;

b. Not to seek renewal of
this policy;

c. Not to apply for any flood insur-

ance under the Act for property
at the described location;

d. Not to seek a premium refund
for current or prior terms.

If the policy term ends before the
insured building has been flooded
continuously for 90 days, the
provisions of this paragraph Q.1
will apply when the insured building
suffers a covered loss before the
policy term ends.

. If your insured building is subject

to continuous lake flooding from a
closed basin lake, you may elect to
file a claim under either paragraph
Q.1 above or this paragraph Q.2 (A
“closed basin lake” is a natural lake
from which water leaves primarily
through evaporation and whose
surface area now exceeds or has
exceeded one square mile at any
time in the recorded past. Most of
the nation’s closed basin lakes are
in the western half of the United
States where annual evaporation
exceeds annual precipitation and
where lake levels and surface
areas are subject to considerable

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fluctuation due to wide variations
in the climate. These lakes may
overtop their basins on rare
occasions.) Under this paragraph
Q.2, we will pay your claim as if the
building is a total loss even though
it has not been continuously
inundated for 90 days, subject to
the following conditions:

a. Lake floodwaters must damage
or imminently threaten to dam-
age your building.

b. Before approval of your claim,
you must:

(1) Agree to a claim payment
that reflects your buying back
the salvage on a negotiated

basis; and
(2) Grant the conservation
easement contained — in

FEMA’s “Policy Guidance
for Closed Basin Lakes,” to
be recorded in the office of
the local recorder of deeds.
FEMA, in consultation with
the community in which
the property is _ located,
will identify on a map an
area or areas of special
consideration (ASC) in which
there is a potential for flood
damage from continuous lake
flooding. FEMA will give the
community the agreed-upon

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map showing the ASC. This
easement will only apply to
that portion of the property in
the ASC. It will allow certain
agricultural and recreational
uses of the land. The only
structures that it will allow on
any portion of the property
within the ASC are certain
simple agricultural and
recreational structures. If any
of these allowable structures
are insurable buildings under
the NFIP and are insured
under the NFIP, they will not
be eligible for the benefits
of this paragraph Q.2. If a
U.S. Army Corps of Engineers
certified flood control project
or otherwise certified flood
control project later protects
the property, FEMA will, upon
request, amend the ASC
to remove areas protected
by those projects. The
restrictions of the easement
will then no longer apply to
any portion of the property
removed from the ASC; and

(3) Comply with paragraphs
Q.1.a through Q.1.d above.
c. Within 90 days of approval of
your claim, you must move your
building to a new location out-

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side the ASC. FEMA will give you
an additional 30 days to move if
you show there is sufficient rea-
son to extend the time.

. Before the final payment of
your claim, you must acquire
an elevation certificate and a
floodplain development permit
from the local floodplain admin-
istrator for the new location of
your building.

. Before the approval of your claim,
the community having jurisdic-
tion over your building must:

(1) Adopt a permanent land use
Ordinance, or a temporary
moratorium for a_ period
not to exceed 6 months to
be followed immediately
by a permanent land use
Ordinance, that is consistent
with the provisions specified
in the easement required in
paragraph Q.2.b above;

(2)Agree to declare and
report any violations of this
ordinance to FEMA so that
under Section 1316 of the
National Flood Insurance Act
of 1968, as amended, flood
insurance to the building can
be denied; and

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(3) Agree to maintain as deed-
restricted, for purposes
compatible with open space
or agricultural or recreational
use only, any affected prop-
erty the community acquires
an interest in. These deed
restrictions must be con-
sistent with the provisions
of paragraph Q.2.b above,
except that even if a certi-
fied project protects the
property, the land use restric-
tions continue to apply if the
property was acquired under
the Hazard Mitigation Grant
Program or the Flood Mitiga-
tion Assistance Program. If a
non-profit land trust organi-
zation receives the property
as a donation, that organi-
zation must maintain the
property as deed-restricted,
consistent with the provisions
of paragraph Q.2.b above.

f. Before the approval of your

claim, the affected State must
take all action set forth in
FEMA’s “Policy Guidance for
Closed Basin Lakes.”

. You must have NFIP flood insur-

ance coverage continuously in
effect from a date established
by FEMA until you file a claim

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under this paragraph Q.2. If a
subsequent owner buys NFIP
insurance that goes into effect
within 60 days of the date of
transfer of title, any gap in
coverage during that 60-day
period will not be a violation
of this continuous coverage
requirement. For the purpose
of honoring a claim under
this paragraph Q.2, we will
not consider to be in effect
any increased coverage that
became effective after the
date established by FEMA. The
exception to this is any increased
coverage in the amount
suggested by your insurer as an
inflation adjustment.

. This paragraph Q.2 will be in
effect for a community when the
FEMA Regional Administrator
for the affected region provides
to the community, in writing,
the following:

(1) Confirmation that the
community and the State
are in compliance with the
conditions in paragraphs
Q2.e and Q.2.f above, and

(2) The date by which you
must have flood insurance
in effect.

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R. Loss Settlement

1. Introduction

This policy provides three methods of settling
losses: Replacement Cost, Special Loss Settlement,
and Actual Cash Value. Each method is used for a
different type of property, as explained in a—c below.

a. Replacement

Cost __Loss,
Settlement described in R.2
below applies to buildings
Other than manufactured
homes or travel trailers.

Special Loss Settlement, described in R.3 below
applies to a residential condominium building
that is a travel trailer or a manufactured home.

Actual Cash Value loss settlement applies to
all other property insured under this policy, as
outlined in R.4. below.

2. Replacement Cost Loss Settlement

a.

We will pay to repair or replace a damaged
or destroyed building, after application of
the deductible and without deduction for
depreciation, but not more than the least of the
following amounts:

(1) The amount of insurance in this policy that
applies to the building;

(2) The replacement cost of that part of the
building damaged, with materials of like
kind and quality, and for like occupancy
and use; or

(3) (The necessary amount actually spent to
repair or replace the damaged part of the
building for like occupancy and use.

We will not be liable for any loss on a Replacement
Cost Coverage basis unless and until actual
repair or replacement of the damaged building
or parts thereof, is completed.

If a building is rebuilt at a location other than
the described location, we will pay no more than
it would have cost to repair or rebuild at the
described location, subject to all other terms of
Replacement Cost Loss Settlement.

3. Special Loss Settlement

a.

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The following loss settlement conditions apply
to a residential condominium building that is:

(1) a manufactured home or travel trailer, as
defined in II.C.6.b and c, and

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(2) at least 16 feet wide when fully assembled
and has at least 600 square feet within its
perimeter walls when fully assembled.

b. If such a building is totally destroyed or damaged
to such an extent that, in our judgment, it is not
economically feasible to repair, at least to its
pre-damaged condition, we will, at our discretion,
pay the least of the following amounts:

(1) The lesser of the replacement cost of the
manufactured home or travel trailer or 1.5
times the actual cash value; or

(2) The Building Limit of liability shown on your
Declarations Page.

c. If such a manufactured home or travel trailer
is partially damaged and, in our judgment, it
is economically feasible to repair it to its pre-
damaged condition, we will settle the loss
according to the Replacement Cost Loss
Settlement conditions in R.2 above.

4. Actual Cash Value Loss Settlement

a. The types of property noted below are subject to
actual cash value loss settlement:

(1) Personal property;

(2) Insured property abandoned after a
loss and that remains as debris at the
described location;

(3) Outside antennas and aerials, awning, and
other outdoor equipment;

(4) Carpeting and pads;

(5) Appliances; and

(6) A manufactured home or mobile home or a
travel trailer as defined in II.C.6.b or c that

does not meet the conditions for special
loss settlement in R.3 above.

b. We will pay the least of the following amounts:
(1) The applicable amount of insurance under
this policy;
(2) The actual cash value, as defined in
11.0.2; or

(3) The amount it would cost to repair or
replace the property with material of like
kind and quality within a reasonable time
after the loss.

IX. POLICY NULLIFICATION, CANCELLATION, AND NON-RENEWAL

A. Policy Nullification for Fraud, Misrepresentation, or
Making False Statements

1. With respect to all insureds under
this policy, this policy is void and
has no legal force and effect if at 3. Policies are void as of the date

2. Policies voided under A.1 cannot
be renewed or replaced by a new
NFIP policy.

any time, before or after a loss, you
or any other insured or your agent
have, with respect to this policy or
any other NFIP insurance:

a. Concealed or misrepresented any

. Fines, civil penalties, and im

the acts described in A.1.above
were committed.

prisonment under applicable
Federal laws may also apply to

the acts of fraud or concealment
described above.

material fact or circumstance;

b. Engaged in fraudulent
conduct; or

c. Made false statements.

B. Policy Nullification for Reasons Other Than Fraud

1. This policy is void from its inception,
and has no legal force or effect, if:

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a. The property listed on the
application is located in
a community that was not
participating in the NFIP on this
policy’s inception date and did
not join or reenter the program
during the policy term and
before the loss occurred;

b. The property listed on the
application is otherwise not
eligible for coverage under
the NFIP at the time of the
initial application;

c. You never had an_ insurable
interest in the property listed on
the application;

d. You provided an agent with an
application and payment, but
the payment did not clear; or

e. We receive notice from you,
prior to the policy effective
date, that you have determined
not to take the policy and you
are not subject a requirement
to obtain and maintain flood
insurance pursuant to any
statute, regulation, or contract.

2. In such cases, you will be entitled
to a full refund of all premium, fees,
and surcharges received. However,
if a claim was paid for a policy that
is void, the claim payment must be
returned to FEMA or offset from the

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premiums to be refunded before
the refund will be processed.

C. Cancellation of the Policy by You

1. You may cancel this policy in accordance with the
terms and conditions of this policy and the applicable
rules and regulations of the NFIP.

2. If you cancel this policy, you may be entitled to a
full or partial refund of premium, surcharges, or fees
under the terms and conditions of this policy and the
applicable rules and regulations of the NFIP.

D. Cancellation of the Policy by Us

1. Cancellation for Underpayment of
Amounts Owed on This Policy. This
policy will be cancelled, pursuant
to VIII.D.2, if it is determined that
the premium amount you paid is
not sufficient to buy any amount
of coverage, and you do not pay
the additional amount of premium
owed to increase the coverage to
the originally requested amount
within the required time period.

2. Cancellation Due to Lack of an
insurable Interest.

a. If you no longer have an insur-
able interest in the insured
property, we will cancel this
policy. You will cease to have an
insurable interest if:

(1) For building coverage, the
building was sold, destroyed,
or removed.

(2) For contents coverage,
the contents were sold
or transferred ownership,

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or the contents were
completely removed from
the described location.

b. If your policy is cancelled for this

reason, you may be entitled to a
partial refund of premium under
the applicable rules and regula-
tions of the NFIP.

3. Cancellation of Duplicate
Policies.

a. Except as allowed under Article

|.F, your property may not be
insured by more than one NFIP
policy, and payment for dam-
ages to your property will only
be made under one policy.

. Except as allowed under Article
.G, if the property is insured by
more than one NFIP policy, we
will cancel all but one of the
policies. The policy, or policies,
will be selected for cancellation
in accordance with 44 CFR 62.5
and the applicable rules and
guidance of the NFIP.

. If this policy is cancelled pur-
suant to VIII.D.3.a, you may

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be entitled to a full or partial
refund of premium, surcharges,
or fees under the terms and
conditions of this policy and
the applicable rules and regu-
lations of the NFIP.

4. Cancellation Due to Physical
Alteration of Property

a. If the insured building has
been physically altered in such
a manner that it is no longer
eligible for flood insurance cov-
erage, we will cancel this policy.

b. If your policy is cancelled for this
reason, you may be entitled to a
partial refund of premium under
the terms and conditions of this
policy and the applicable rules
and regulations of the NFIP.

E. Non-Renewal of the Policy by Us
Your policy will not be renewed if:

1. The community where your insured property is
located is suspended or stops participating in
the NFIP;

2. Your building is otherwise ineligible for flood
insurance under the Act;

3. You have failed to provide the information we
requested for the purpose of rating the policy within
the required deadline.

X. LIBERALIZATION CLAUSE

lf we make a change that broadens your coverage
under this edition of our policy, but does not require any
additional premium, then that change will automatically
apply to your insurance as of the date we implement the

change, provided that this implementation date falls within
60 days before or during the policy term stated on the
Declarations Page.

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XI. WHAT LAW GOVERNS

This policy and all disputes arising from the insurer’s policy insurance regulations issued by FEMA, the National Flood
issuance, policy administration, or the handling of any Insurance Act of 1968, as amended (42 U.S.C. 4001, et
claim under the policy are governed exclusively by the flood seq.), and Federal common law.

In Witness Whereof, we have signed this policy below and hereby enter into this Insurance Agreement.

Ses LID fhuielae?

Deputy Associate Administrator
Federal Insurance and Mitigation Administration

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